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                               Exhibit 28



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Duzor, Deirdre                                               October 30, 2007
                                Washington, DC

                                                                              Page 1
                  UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS

   - - - - - - - - - - - - - - -

   IN RE:    PHARMACEUTICAL       )   MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE     )   CIVIL ACTION

   PRICE LITIGATION               )   01-CV-12257-PBS

   THIS DOCUMENT RELATES TO       )

   U.S. ex rel. Ven-a-Care of     )   Judge Patti B. Saris

   the Florida Keys, Inc.         )

        v.                        )   Chief Magistrate

   Abbott Laboratories, Inc.,     )   Judge Marianne B.

   No. 06-CV-11337-PBS            )   Bowler

   - - - - - - - - - - - - - - -

             (cross-captions on following pages)



                                Washington, D.C.

                                Tuesday, October 30, 2007

                                9:00 a.m.



         Videotaped deposition of DEIRDRE DUZOR

                           Volume I




                         Henderson Legal Services
                               202-220-4158

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                                                                              Page 2
 1       IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
 2                THIRD JUDICIAL DISTRICT AT ANCHORAGE
 3   - - - - - - - - - - - - - - -
 4   STATE OF ALASKA,                          )
 5                    Plaintiff,               )
 6          vs.                                )    Case No.
 7   ABBOTT LABORATORIES and                   )    3AN-06-12297 CI
 8   DEY, INC.,                                )
 9                   Defendants.               )
10   - - - - - - - - - - - - - - -
11

12

13                         IN THE CIRCUIT COURT OF
14                      MONTGOMERY COUNTY, ALABAMA
15   - - - - - - - - - - - - - - -
16   STATE OF ALABAMA,                         )
17                    Plaintiff,               )
18          vs.                                )    Case No. CV-2005-219
19   ABBOTT LABORATORIES, INC.,                )    Judge Charles Price
20   et al.,                                   )
21                    Defendants.              )
22   - - - - - - - - - - - - - - -


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                           202-220-4158

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 1   increasingly difficult to require the states to      1            MR. WINGET-HERNANDEZ: Objection it form.
 2   establish payment rates in adherence to regulatory   2            MR. BATES: Objection to form.
 3   requirements." Do you see that?                      3            MS. MARTINEZ: Objection to form.
 4       A. Yes, I do.                                    4       A. I think based on the IG reports, yes, we
 5       Q. Do you know what that means?                  5    expected that they were. But they were faced with
 6       A. No. And I think my difficulty is that --      6    difficult choices in terms of reducing their
 7   the idea of increasingly difficult, I wasn't there   7    payments, which many states were doing, but they
 8   at the prior point in time to have an appreciation   8    were doing it in a cautious manner. They didn't
 9   of how it had been before I arrived.                 9    want to do it in a very precipitous manner because
10       Q. Do you know what the regulatory              10    of course their pharmacy -- their pharmacist and
11   requirements were that are being referred to here?  11    their pharmacy organizations were telling people
12       A. I believe they would be the regulatory       12    that the sky would be falling in then.
13   requirements related to estimated acquisition cost. 13            So I think they were in a difficult
14       Q. And what the authors of this document are    14    position to know how much they could reduce their
15   saying is that it's becoming difficult to require   15    rates.
16   states to set payment rates that get to estimated   16       Q. Do you believe that their actions were
17   acquisition cost, correct?                          17    reasonable?
18           MR. WINGET-HERNANDEZ: Objection to form. 18               MS. MARTINEZ: Objection to form.
19           MS. MARTINEZ: Objection, form.              19            MR. BATES: Objection to form.
20       A. The plain reading of it, yes.                20       A. I think we thought the direction they
21       Q. Oh, is there a hidden meaning that I'm       21    were going was the proper direction. Whether they
22   not getting?                                        22    were being overly cautious or not I think is a hard
                                             Page 195                                                    Page 197
 1           MR. WINGET-HERNANDEZ: Objection, form. 1          judgment at the federal level to make. But, you
 2       A. No. Again, I'm just saying that not            2   know, I think we thought they were going in the
 3   having the history I don't know the basis of the      3   right direction.
 4   statement saying that it is proving increasingly      4       Q. What would have happened if overnight all
 5   difficult.                                            5   the AWPs reported for all drugs were automatically
 6       Q. But based on your experience you did           6   turned into real prices?
 7   observe that it was difficult to get states to        7           MR. WINGET-HERNANDEZ: Objection to form.
 8   establish payment rates in adherence with the         8           MS. MARTINEZ: Objection to form.
 9   estimated acquisition cost, correct?                  9       Q. What would have happened?
10           MR. BATES: Objection to the form.            10           MR. BATES: Objection to form.
11           MS. MARTINEZ: Objection to form.             11       A. I think that a lot of telephones would
12       A. Well, in order to determine estimated         12   have been ringing all over the country in Medicaid
13   acquisition cost my understanding of what had been   13   offices from pharmacists would be saying -- and they
14   done previously was to require states to do surveys  14   do now, when states -- my understanding -- when
15   and get invoices. And I think states were saying     15   states establish MACs. If a pharmacist can't get
16   that that was too difficult, too time consuming, too 16   the drug at the price that they're being reimbursed
17   out of date. By the time they did it prices were     17   by Medicaid they don't hesitate to call Medicaid and
18   changing. So that states were telling us that they   18   say I'm going to come in and show you my invoice.
19   couldn't really do that anymore.                     19   Here it is. Here's what I'm paying. I can't take
20       Q. Is it your testimony that you didn't know     20   reimbursement from you that's less than what it's
21   that states were reimbursing drugs at levels higher  21   costing me.
22   than estimated acquisition cost?                     22           So I think they hear about it from the

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                                                                  54 (Pages 210 to 213)
                                                    210                                                              212
 1   does she do?                                           1   a quick e-mail that has a typo. It sounds a little
 2      A. I don't know. She appears to work in our         2   incredulous to believe that the secretary would not
 3   Chicago regional office. But I don't know her.         3   want to hold up state plan amendments due to policy.
 4      Q. How about Alan Freund in the copy field?         4   That's kind of basically what they are. They're
 5      A. He works in the Chicago regional office.         5   establishing policy. So it almost seems like maybe
 6      Q. How about Glenn Stanton?                         6   that's a misstatement. But I frankly just don't
 7      A. I don't know him.                                7   understand it.
 8      Q. If you would look at Ms. Carson's e-mail,        8      Q. You agree that CMS's approval of state
 9   this is to Kim and Larry?                              9   plan amendments go to the heart of the policy of
10      A. Yes.                                            10   whether CMS approves or disapproves of the
11      Q. Kimberly Howell and Larry Reid. She             11   provisions in those state Medicaid programs?
12   wrote "I think it is time that you make decision on   12          MS. POLLACK: Objection to form.
13   whether or not the additional changes you are         13          MR. WINGET-HERNANDEZ: Objection to form.
14   requesting from the state are in violation of         14          MS. MARTINEZ: Objection to form.
15   federal law or regulation. Remember Secretary         15      A. Our decisions on state plans should
16   Thompson does not want SPA approvals held up on       16   reflect our policy, as I understand it. That would
17   policy only." And then she continues on.              17   be my role as a minor policy official, but -- to
18           Secretary Thompson, was that secretary        18   make sure that when we approve things they were
19   Tommy Thompson?                                       19   consistent with agency and departmental and
20      A. I would think so, yes.                          20   administration policy.
21      Q. HHS secretary?                                  21      Q. And where would I go to find out an
22      A. Yes.                                            22   enunciation of what the policy was?

                                                    211                                                              213
 1       Q. So the top official within the entire          1          MR. WINGET-HERNANDEZ: Objection to form.
 2   Department of Health and Human Services; is that      2          MS. MARTINEZ: Objection, form.
 3   right?                                                3       A. Well, in this case, I mean, the policy
 4       A. Admin level official, yes.                     4    needs to be consistent with the law and the
 5       Q. And do you recall him making a comment or      5    regulations. So in this case by reviewing the
 6   a policy that he did not want SPA approvals to be     6    regulations. And then what we had done up to that
 7   held up on policy only?                               7    point in time, as I understand it, was to seek
 8       A. No. I do not recall him making any             8    pharmacy invoices or, you know, some documentation
 9   statement like that that I was aware of.              9    as to actual prices paid. So that was the way we
10       Q. Do you recall becoming aware of that          10    applied the policy was to look for that kind of
11   policy?                                              11    documentation of state payment rates.
12           MR. WINGET-HERNANDEZ: Objection, form. 12             Q. Revisiting Exhibit Abbott 328, that
13       A. This is the first time I've heard anyone      13    document that we looked at earlier, do you recall
14   say that that was a policy of Secretary Thompson's. 14     discussion in your office that these were policies
15       Q. Is that consistent with -- is this e-mail     15    and options such as approving SPAs that decrease the
16   consistent with your earlier testimony regarding how 16    ingredient cost as long as it is no lower than that
17   the administration did not want to be very directive 17    of another state that CMS was already following?
18   to states in telling them how to run their state     18           MS. MARTINEZ: Objection, form.
19   Medicaid programs?                                   19       A. I'm not clear on your question. Are you
20           MR. BATES: Object to the form.               20    saying that at the point that we were proposing or
21           MS. MARTINEZ: Object to the form.            21    setting forward this option paper that we were
22       A. Frankly, in reading this I wonder if it's     22    already using these guidelines?


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